

Matter of Jon Z. (2019 NY Slip Op 09159)





Matter of Jon Z.


2019 NY Slip Op 09159


Decided on December 20, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, CARNI, AND DEJOSEPH, JJ.


1142 CA 18-01988

[*1]IN THE MATTER OF THE APPLICATION OF JON Z. AND VICTOR Z. FOR THE APPOINTMENT OF A GUARDIAN OF THE PROPERTY AND/OR PERSON OF MARGARET Z., AN ALLEGED INCAPACITATED PERSON. JON Z., PETITIONER-APPELLANT; THERESA M. GIROUARD, ESQ., APPOINTED GUARDIAN FOR MARGARET Z., AN ALLEGED INCAPACITATED PERSON, RESPONDENT-RESPONDENT. (APPEAL NO. 2.) 






JON Z., PETITIONER-APPELLANT PRO SE.
SCHMITT &amp; LASCURETTES, LLC, UTICA (WILLIAM P. SCHMITT OF COUNSEL), FOR RESPONDENT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Oneida County (David A. Murad, J.), entered August 6, 2018. The order granted that part of the motion of respondent seeking payment to Heritage Health Care Center. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Jon Z. ([appeal No. 1] — AD3d — [Dec. 20, 2019] [4th Dept 2019]).
Entered: December 20, 2019
Mark W. Bennett
Clerk of the Court








